Case 4:07-cv-05944-JST Document 4071-8 Filed 09/23/15 Page 1 of 4




                 Exhibit 7
            Case 4:07-cv-05944-JST Document 4071-8 Filed 09/23/15 Page 2 of 4



                               DAP AND THIRD-PARTY DEPOSITIONS

                                                                              DAP/THIRD
      DEPONENT                             ENTITY                 DATE
                                                                              PARTY
      Schuh, Daniel                        ABC Warehouse          8/21/2013       DAP
      Vigneau, Gary                        ABC Warehouse          3/26/2014       DAP
      Tanas, Constantin (Gus)              ABC Warehouse          3/27/2014       DAP
      Parolisi, Chris                      PC Richard              4/7/2014       DAP
      Bogdanov, John                       PC Richard              4/8/2014       DAP
      Bone, Michael                        ABC Warehouse          5/28/2014       DAP
      Dirven, David                        ABC Warehouse          5/29/2014       DAP
      Fields, Aimee                        MARTA                   6/4/2014       DAP
      Sokol, Jeffrey                       MARTA                   6/6/2014       DAP
      Groves, Christopher                  Best Buy               6/20/2014       DAP
      Williams, Todd                       Target                 6/24/2014       DAP
      Ashley, Kent                         Target                 6/25/2014       DAP
      Sampietro, Vincent                   Sharp                  6/25/2014       DAP
      LaRegina, John                       P.C. Richard           6/26/2014       DAP
      Scaglione, Robert                    Sharp                  6/26/2014       DAP
      Shulklapper, Andrew                  Circuit City            7/8/2014       DAP
      Linsky, Wendy                        Tech Data              7/16/2014       DAP
      Souder, Rick                         Circuit City           7/23/2014       DAP
      Mann, Warren                         MARTA                  7/25/2014       DAP
      Adamo, Claudine                      Costco                 7/29/2014       DAP
      Nakanishi, Toshihito (Vol I - II)    Sharp                  7/29/2014       DAP
      Furey, Timothy                       Circuit City           7/30/2014       DAP
      Schmenger, Dave                      Costco                 7/30/2014       DAP
      Prescott, William                    Costco                 7/31/2014       DAP
      PC Connection, Inc.                  PC Connection, Inc.     8/4/2014    Third Party
      Garvin, Martin                       Dell                    8/6/2014       DAP
      Ingram Micro, Inc.                   Ingram Micro, Inc.      8/6/2014    Third Party
      Bryan, Angus                         BrandsMart              8/7/2014       DAP
      Hewlett-Packard Company              Hewlett-Packard Comp    8/7/2014    Third Party
      Ford, Angela                         Dell                    8/8/2014       DAP
      Garcia, Paul                         BrandsMart              8/8/2014       DAP
      Jemo, Michael                        Sears/KMartFact         8/8/2014       DAP
      Johnson, Robert                      BrandsMart              8/8/2014       DAP
      Calkins, Dea                         Best Buy               8/12/2014       DAP
      Farmer, Tim                          Costco                 8/12/2014       DAP
      Ducatelli, Tom                       CompuCom               8/13/2014       DAP
      Selman, Dennis                       Dell                   8/13/2014       DAP
      Tennenbaum, Elise                    CompuCom               8/13/2014       DAP
      Lopez, Lloyd                         CompuCom               8/14/2014       DAP
      Nolan, Michael                       CompuCom               8/14/2014       DAP
      Thole, Lee                           Target                 8/14/2014       DAP
      Neland, Glenn                        Dell                   8/15/2014       DAP

In re Cathode Ray Tubes
(CRT) Antitrust Litigation                    1            Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 4071-8 Filed 09/23/15 Page 3 of 4


                                                                                         DAP/THIRD
      DEPONENT                                    ENTITY                    DATE
                                                                                         PARTY
      Tay, Paul                                   Dell                       8/18/2014       DAP
      Columbus, Jamie                             Office Depot               8/19/2014       DAP
      Will, Joshua                                Best Buy                   8/19/2014       DAP
      Carver, Brian                               Best Buy                   8/20/2014       DAP
      Dowdy, David                                Circuit City               8/20/2014       DAP
      Fritz, Wendy                                Best Buy                   8/20/2014       DAP
      Hartunian, Martin                           ABC Warehouse              8/20/2014       DAP
      Sapienza, Bernie                            Tweeter                    8/20/2014       DAP
      Bonfig, Jason                               Best Buy                  8/21/2014        DAP
      Blackmond, Jacqueline                       Sears                      8/22/2014       DAP
      Silverman, Todd                             Office Depot               8/22/2014       DAP
      Stone, Jeff                                 Tweeter                    8/22/2014       DAP
      Stringfellow, Thomas                        Dell                       8/22/2014       DAP
      Bacchus, Robert                             Tech Data                  8/22/2014    Third Party
      TigerDirect, Inc.                           TigerDirect, Inc.          8/22/2014    Third Party
      Melnick, Jon                                Dell                       8/23/2014       DAP
      Bengier, James                              Tweeter                    8/25/2014       DAP
      Yadon, Lora                                 Wal-Mart                   8/25/2014       DAP
      Wal-Mart                                    Wal-Mart                   8/25/2014    Third Party
      Hess, Glenna                                Sears                     8/26/2014        DAP
      Britton, Philip                             Best Buy                   8/27/2014       DAP
      Pappas, Philo                               Tweeter                    8/27/2014       DAP
      Smith, Gerry                                Dell                       8/27/2014       DAP
      Smith, Rebecca                              Target                     8/27/2014       DAP
      Seth, Rajesh/Fry's Electronics              Fry's Electronics, Inc.    8/27/2014    Third Party
      Ratley, Ricky                               Dell                       8/28/2014       DAP
      Roshinski, Frank                            Tweeter                    8/28/2014       DAP
      Teel, Roger                                 Sears                      8/28/2014       DAP
      Ali, George                                 TigerDirect, Inc.          8/28/2014    Third Party
      Karam, Shelly                               Sears                       9/3/2014       DAP
      Lillie, Shutuan                             Dell                        9/3/2014       DAP
      Tibbils, Kent / ASI Computer Technologies   ASI Computer Technol        9/3/2014    Third Party
      Carter, Matthew                             Target                      9/4/2014       DAP
      Richard, Gregg                              PC Richard                  9/4/2014       DAP
      Paquette, Paula                             K-Mart                      9/5/2014       DAP
      Ray, Mike                                   Best Buy                    9/5/2014       DAP
      French, Julie                               Dell                        9/9/2014       DAP
      Bacon, Charles                              Sears                       9/9/2014    Third Party
      Crandall, John / Amazon.com, Inc.           Amazon.com, Inc.           9/10/2014    Third Party
      Arif, Tony / Newegg, Inc.                   Newegg, Inc.               9/11/2014    Third Party
      Koziol, Kathleen                            Electrograph               9/16/2014       DAP
      Foxhall, Steven                             Office Max                 9/17/2014       DAP
      Taylor, Sam                                 Electrograph               9/18/2014       DAP
      Ayala, Debbie                               Best Buy                   10/4/2014       DAP
      Chikhani, Rabih                             Electrograph              10/15/2014       DAP

In re Cathode Ray Tubes
(CRT) Antitrust Litigation                            2              Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 4071-8 Filed 09/23/15 Page 4 of 4


                                                                        DAP/THIRD
      DEPONENT                          ENTITY            DATE
                                                                        PARTY
      Jeffcoat, Kellmeny                Tech Data          10/15/2014      DAP
      Ivani, Alex                       Electrograph       10/16/2014      DAP
      Chen-Kao, Bodil                   ViewSonic           11/6/2014      DAP
      Yang, Rose                        ViewSonic           11/7/2014      DAP




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                 3           Case No. 3:07-cv-5944, MDL No. 1917
